AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             Eastern District
                                             __________       of North
                                                          District     Carolina
                                                                   of __________


              Camp Lejeune Water Litigation                    )
                             Plaintiff                         )
                                v.                             )      Case No.     7:23-cv-897
                 United States of America                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          National Academy of Sciences                                                                                  .


Date:          06/03/2024                                                               /s/Katarina K. Wong
                                                                                          Attorney’s signature


                                                                           Katarina K. Wong, N.C. State Bar No. 55040
                                                                                     Printed name and bar number
                                                                        Brooks, Pierce, McLendon, Humphrey & Leonard,
                                                                                               LLP
                                                                               150 Fayetteville Street, Suite 1700
                                                                                       Raleigh, NC 27601
                                                                                                Address

                                                                                     kwong@brookspierce.com
                                                                                            E-mail address

                                                                                          (919) 882-2520
                                                                                          Telephone number



                                                                                             FAX number




                      Case 7:23-cv-00897-RJ Document 221 Filed 06/04/24 Page 1 of 1
